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 7
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 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,     Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                               OPPOSITION TO PLAINTIFFS’
                                                MOTION TO EXCLUDE THE EXPERT
13               Plaintiffs,                    TESTIMONY OF JOSHUA J. MINKLER
14         v.                                   Date: April 10, 2025
                                                Time: 2 PM
15   NSO GROUP TECHNOLOGIES LIMITED             Place: Courtroom 3, Ronald V. Dellums
     and Q CYBER TECHNOLOGIES LIMITED,                 Federal Building & U.S. Courthouse,
16                                                     1301 Clay Street, Oakland, California
                 Defendants.
17                                              Judge: Hon. Phyllis J. Hamilton
18                                              FILED UNDER SEAL
                                                [REDACTED VERSION OF DOCUMENT
19                                              SOUGHT TO BE SEALED]
20                                              Action Filed: 10/29/2019

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 1   I.       INTRODUCTION

 2            Several key issues must be decided in this case before any punitive damages or injunctive

 3   relief can be awarded. These include (1) whether the intent and conduct of Defendants NSO Group

 4   Technologies Ltd. and Q Cyber Technologies Ltd. (collectively, “NSO”) in licensing its Pegasus

 5   technology to foreign sovereigns were so reprehensible as to warrant punitive damages above and

 6   beyond any compensatory relief; and (2) whether the equities between the parties or the public

 7   interest warrants any equitable relief. To help the jury and the Court decide these questions, NSO

 8   engaged Joshua J. Minkler—a distinguished former U.S. Attorney with decades of experience in

 9   law-enforcement investigations and surveillance techniques—who opines that tools such as

10   Pegasus benefit law enforcement by filling a rapidly increasing gap in law enforcement’s ability

11   to intercept the communications of criminals using end-to-end encrypted services such as

12   WhatsApp. 1

13            Plaintiffs seek to exclude all of Mr. Minkler’s opinions so they can present to the jury a

14   one-sided view that NSO’s conduct in licensing Pegasus was harmful. But Plaintiffs’ attacks

15   frequently misconstrue what Mr. Minkler opines or misstate what Rule 702 requires. Indeed, it is

16   difficult to imagine anyone more qualified to opine on current trends in law-enforcement

17 surveillance than a recent U.S. Attorney with over thirty years of law-enforcement experience at

18 all levels, including leading or supervising dozens of investigations that were hampered by the
19 inability to intercept encrypted communications. The jury should not be deprived of Mr. Minkler’s

20 opinions. Hearing how Pegasus fills a growing gap in law enforcement’s capabilities will help the

21 jury understand, for example, whether NSO intended to benefit law enforcement (or instead to

22 harm Plaintiffs). And there is no serious question that Mr. Minkler has reliably grounded his

23 opinions in decades of experience leading, supervising, discussing, and researching criminal

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       For four and a half years, Plaintiffs also claimed entitlement to disgorgement of unjust
     enrichment. The day before pretrial filings were due, Plaintiffs suddenly and without explanation
26   abandoned any request for that remedy, and their portions of the joint pretrial statement include no
     reference to disgorgement. (See generally Dkt. 591.) In reliance on Plaintiffs’ representations and
27
     pretrial filings, this opposition does not explain why Mr. Minkler’s testimony is further relevant
28   to disgorgement.
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 1   investigations. Plaintiffs obviously disagree with his opinions, but they are plainly relevant to

 2   issues facing the jury and the Court, and Mr. Minkler is qualified to give them. It is ultimately for

 3   the jury, not Plaintiffs, to decide whether those opinions should be credited. The Court should

 4   deny Plaintiffs’ motion.

 5   II.    BACKGROUND

 6          Mr. Minkler is a decorated former federal prosecutor and U.S. Attorney with “over thirty

 7   years of law-enforcement experience,” including leading “more than fifty investigations.” (Dkt.

 8   572-4 Exh. A (“Report”) ¶¶ 5–6; see Id., App’x A at 2–3 (“Honors and Awards”).) He has

 9   extensive experience and expertise in trends in law-enforcement surveillance techniques. During

10   his time in the Department of Justice (“DOJ”), Mr. Minkler learned about criminal efforts to thwart

11   surveillance by “interview[ing] criminals” as part of proffers, supervising “terrorist

12   investigations,” and participating in meetings with FBI “discussing investigative techniques and

13   proffers of terrorists and national security investigations.” (See Decl. of Joseph N. Akrotirianakis

14   ¶ 2 & Exh. A (“Minkler Depo.” or “Depo.”) at 264:5–265:10.) Mr. Minkler also has extensive

15   experience with how encrypted communications—such as those offered by Plaintiffs—can hamper

16   criminal investigations and prosecutions. Between 2018 and 2020, Mr. Minkler supervised “20

17   cases” in which law enforcement was “unable to access . . . communications because they were

18   encrypted, even with a search warrant.” (Id. at 182:12–183:1.) He also participated in many

19   meetings with FBI officials discussing cases where law enforcement “could not gain access to [a

20   criminal’s] device because of the encryption,” and “everyone discussing that[] favored some

21   technology” for law enforcement to “get access to encrypted devices.” (Id. at 168:1–18.) Drawing

22   on this extensive experience and his own research, Mr. Minkler seeks to offer three main opinions.

23          First, Mr. Minkler opines that the United States has a legal framework—under Title III and

24   the Foreign Intelligence Surveillance Act (“FISA”)—that authorizes “law enforcement to lawfully

25   intercept communications using tools like Pegasus.” (Report ¶ 36.) In other words, Pegasus could

26   be deployed in the United States pursuant to “a valid Title 3 warrant” or a “valid warrant . . . from

27   the FISA court.” (Akro Decl. Exh. A., Depo. at 76:14–23; see id. at 76:24–77:6; 79:8–20.) Mr.

28   Minkler has significant experience with both Title III and FISA: He has presented “[i]n excess of
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 1   30” Title III applications to a federal court (id. at 33:17–34:5); has supervised two “national

 2 security investigations” that “utilized FISA” over the course of five years, where he learned “the

 3 process the agent went through to obtain the FISA warrant” and what materials were obtained (id.

 4 at 74:2–15); and is familiar with “the criminal and civil penalties for abuse” of both statutes (id. at

 5 82:1–12.)

 6          Relatedly, Mr. Minkler opines that “other nations have legal frameworks that permit law

 7 enforcement to intercept communications lawfully.” (Report ¶ 50.) He grounds this opinion in

 8 not only his first-hand experience leading Operation Money Clip, in which Mexican law
 9 enforcement’s lawful interception of communications “was instrumental in securing arrests and

10 convictions for several of the investigation’s targets” (id. ¶ 53; see id. ¶ 10), but also “independent

11 research” he conducted that included consulting several extensive treatises and databases (see id.

12 ¶ 52; Report, App’x B (listing scholarly treatises and chapters considered)).

13          Second, Mr. Minkler opines that there is a rapidly increasing gap in law-enforcement needs

14 regarding, in particular, end-to-end (or “E2E”) encryption services such as WhatsApp. (Report

15 ¶¶ 41–49.) In Mr. Minkler’s experience, criminals involved in terrorism, child exploitation, and

16 human trafficking have increasingly used end-to-end encryption services because end-to-end

17 encryption “prevents law enforcement from intercepting and deciphering communications.” (Id.

18 ¶¶ 41–42, 58; see Akro Decl. Exh. A., Depo. at 186:11–21 (“in drug cases, in child sexual crimes
19 to include child exploitation crimes, and in terrorism cases, increasingly those individuals used

20 counter-surveillance measures that include end-to-end encryption”).) Mr. Minkler opines—based

21 on years of his own experience and several, recent high-profile cases—that end-to-end encryption

22 can, and increasingly does, hamper investigations and prosecutions of serious criminals and

23 terrorists. (Id. ¶¶ 42–49, 59.)

24          Third, Mr. Minkler opines that “NSO’s Pegasus technology, or similar technology, would

25 allow law enforcement legal access to E2E encrypted communications used in furtherance of

26 criminal activity,” as such tools “could provide law enforcement agencies with real-time

27 intelligence of crimes as they are planned.” (Report ¶¶ 60–61.) Mr. Minkler bases this opinion

28 on materials he reviewed “summarizing the capabilities of NSO’s Pegasus technology” (id. ¶ 60),
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 1    public remarks by the highest levels of law enforcement including former Attorneys General and

 2    a former President (id. ¶ 56), and “public reporting” of how “Pegasus itself has been beneficially

 3    deployed in several high-profile investigations” in other countries” (id. ¶ 62).

 4    III.    RELEVANT LEGAL STANDARDS

 5            Under Federal Rule of Evidence 702, expert testimony is permissible if it meets four

 6    criteria: (1) it “will help the trier of fact to understand the evidence or to determine a fact in issue,”

 7    (2) it is “based on sufficient facts or data,” and (3) it is the “product of reliable principles and

 8    methods” that (4) have been “reliably applied . . . to the facts of the case.” Fed. R. Evid. 702; see

 9    Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589–90 (1993); United States v. W.R. Grace,

10    504 F.3d 745, 759 (9th Cir. 2007). These criteria are aimed to ensure that an expert “employs in

11    the courtroom the same level of intellectual rigor that characterizes the practice of an expert in the

12    relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).

13            To ensure all expert testimony presented to the jury “rests on a reliable foundation and is

14 relevant to the task at hand,” the Court acts as a “gatekeeper” against expert testimony that fails to

15 satisfy Rule 702’s criteria. Daubert, 509 U.S. at 597. In performing this task, the Court conducts

16 a “holistic” analysis of the testimony for “overall sufficiency of the underlying facts and data, and

17 the reliability of the methods, as well as the fit of the methods to the facts of the case.” W.R. Grace,

18 504 F.3d at 762, 765. The Court’s goal, however, is to “screen the jury from unreliable nonsense
19 opinions,” not to “exclude opinions merely because they are impeachable.” Alaska Rent-A-Car,

20 Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013).

21 IV.        ARGUMENT

22            With over three decades of experience at DOJ, Mr. Minkler has supervised or led dozens

23    of cases where law enforcement was “unable to access . . . communications because they were

24    encrypted, even with a search warrant.” (Akro Decl. Exh. A., Depo. at 182:12–183:1.) Leveraging

25    this experience, Mr. Minkler will help the jury understand (1) avenues for the “lawful interception

26    and surveillance of communications” by law enforcement, (2) “the unique investigatory challenges

27    presented . . . by end-to-end encryption” in services like WhatsApp; and (3) the consequent

28    “benefits of tools such as Pegasus in law enforcement and national security operations.” (Report
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 1    ¶ 1.) The jury should hear these relevant and reliable opinions. In seeking to put a one-sided

 2    record before the jury, Plaintiffs largely misconstrue what Mr. Minkler actually opines and

 3    misstate what Rule 702 actually requires. The Court should deny Plaintiffs’ Motion in its entirety.

 4           A.      Mr. Minkler is qualified to offer his opinions.

 5            Plaintiffs’ attempts (at 10–12) to disqualify Mr. Minkler are unavailing. There can be no

 6    serious dispute that a distinguished former U.S. Attorney with “over thirty years of law-

 7    enforcement experience,” including leading “more than fifty investigations” (Report ¶¶ 5–6), is

 8    qualified to opine on the legal process for lawfully intercepting communications or how tools such

 9    as Pegasus fill a gap in current law-enforcement surveillance techniques. Indeed, Plaintiffs’

10    objections misconstrue the opinions Mr. Minkler offers.

11           It is undisputed that Mr. Minkler has specialized expertise in trends in law-enforcement

12    surveillance techniques—including how end-to-end encryption services like WhatsApp can and

13    do hamper the investigation and prosecution of terrorists and other serious criminals. During his

14    time at DOJ, Mr. Minkler supervised “20 cases” between 2018 and 2020 in which law enforcement

15    was “unable to access . . . communications because they were encrypted, even with a search

16    warrant.” (Akro Decl. Exh. A., Depo. at 182:12–183:1.) He also “interviewed criminals” as part

17    of proffers, supervised numerous “terrorist investigations,” and participated in countless meetings

18    with FBI “discussing investigative techniques and proffers of terrorists and national security

19    investigations.” (Id. at 264:5–265:10.) He also discussed in numerous meetings with FBI officials

20    cases where law enforcement “could not gain access to [a criminal’s] device because of the

21    encryption,” and “everyone discussing that[ ] favored some technology” for law enforcement to

22    “get access to encrypted devices.” (Id. at 168:1–18.) To take just one example, law enforcement’s

23    inability to “obtain the WhatApp and Signal messages from [a drug trafficker’s] phone” in one

24    case prevented the authorities from “prov[ing] a case against” against the trafficker’s source “or

25    expand[ing] the investigation to” include that source, a suspected drug cartel. (Report ¶ 19.)

26           Plaintiffs misunderstand Mr. Minkler’s opinion in challenging (at 10) his qualifications “to

27    opine on whether U.S. or foreign law enforcement could legally use Pegasus.” Mr. Minkler made

28    clear that, contrary to Plaintiffs’ characterization, he is not offering a legal opinion on “whether
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 1    NSO’s access in this was case was authorized” or legally obtained (Akro Decl. Exh. A., Depo. at

 2    124:14–21), or “the legality of” specific uses of Pegasus “in Saudi Arabia or anywhere else” (id.

 3    at 160:7–11). Rather, he opines only on whether certain countries authorize “law enforcement to

 4    lawfully intercept communications using tools like Pegasus.” (Report ¶ 36; see id. ¶ 50 (“other

 5    nations have legal frameworks that permit law enforcement to intercept communications

 6    lawfully”).) In other words, Mr. Minkler’s opinion is that Pegasus could be deployed in the United

 7    States pursuant to “a valid Title 3” order or a “valid warrant . . . from the FISA court.” (Akro Decl.

 8    Exh. A., Depo. at 76:14–23; see id. at 79:8–20 (opining that if “there’s a valid Title 3 or FISA

 9    warrant for communications that are encrypted, in my opinion, Title 3 and FISA would be a proper

10    avenue authorizing law enforcement to use Pegasus”); 76:24–77:6 (similar).) Given his decades

11    of experience in lawful surveillance techniques, including under Title III and FISA, Mr. Minkler

12    is qualified to offer that opinion. See, e.g., United States v. Holguin, 51 F.4th 841, 854 (9th Cir.

13 2022) (“Law enforcement professionals are routinely qualified to offer expert testimony based on

14 their training and experience.”).

15            Plaintiffs’ contention (at 10–11) that Mr. Minkler “is not an expert on Title III or FISA” is

16 wrong. Mr. Minkler has applied for “[i]n excess of 30” Title III warrants during 10 to 15

17 investigations (id. at 33:17–34:5); has supervised two “national security investigations” that

18 “utilized FISA,” in which he learned “the process the agent went through to obtain the FISA
19 warrant” and what materials were obtained (id. at 74:2–15); and is familiar with “the criminal and

20 civil penalties for abuse” of Title III and FISA warrants (id. at 82:1–12). Plaintiffs do not dispute

21 these substantial qualifications, and instead quibble (at 10–11) about his knowledge of Title III’s

22 history, familiarity with studies from six decades ago, and reference to “Title III of the Electronic

23 Communications Privacy Act, 18 U.S.C. § 2510, et seq.”” 2

24            None of these complaints, however, bears on Mr. Minkler’s actual analysis of Title III as

25

26    2
       Plaintiffs also misconstrue Mr. Minkler’s testimony on FISA. Mr. Minkler merely testified that
27    he had not read every single section included in the long-form title of the statute. (Akro Decl. Exh.
      A., Depo. at 72:16–73:2.) He did not testify, as Plaintiffs imply, that he had not reviewed the
28    specific provisions pertinent to his opinions.
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 1    it reads today. And more importantly, none has anything to do with his qualifications to offer that

 2    analysis. Unlike the proffered expert in Plaintiffs’ sole cited authority, not even Plaintiffs suggest

 3    Mr. Minkler actually “relied . . . on the wrong regulations.” See Takeda Pharms. U.S.A., Inc. v.

 4    Par Pharm. Cos., 2015 WL 13877466, at *1 (D. Del. Nov. 24, 2015). Nor, as Plaintiffs suggest,

 5    is Mr. Minkler required to establish that he the leading expert on Title III or FISA or that he has

 6    devoted the entirety of his career to an academic assessment of Title III and FISA. See Holguin,

 7    51 F.4th at 854 (“Rule 702 does not demand distinction in a particular field.”). Mr. Minkler needs

 8 only “specialized knowledge beyond the jury’s common knowledge of a topic,” id.—which he
 9 plainly has. 3

10            Plaintiffs’ assertion (at 11–12) that “Mr. Minkler has no qualifications” to opine on lawful

11    surveillance by foreign governments likewise fails. Mr. Minkler grounds his opinions in his first-

12    hand experience leading Operation Money Clip, in which Mexican law enforcement’s lawful

13    interception of communications “was instrumental in securing arrests and convictions for several

14    of the investigations’ targets.” (Report ¶ 53; see id. ¶ 10.)     He also conducted “independent

15 research,” consulting several extensive treatises and databases—not just a single 1975 study as

16 Plaintiffs falsely suggest. (See id. ¶ 52 (describing Vodafone database); Report, App’x B (listing

17 scholarly materials considered)).        There is no dispute that Mr. Minkler, an accomplished

18 prosecutor and attorney, was qualified to conduct that research. Based on the combination of his
19 experience and his research, he concluded that many other countries “allow for the lawful

20 interception of communications with prior judicial authorization,” similar to the United States.

21 (See id. ¶ 51.) Here too, then, Mr. Minkler’s first-hand experience and research in this area give

22
      3
23      Plaintiffs’ related contention (at 7) that Mr. Minkler improperly “opines on the scope of Title III
      and FISA” is wrong. In the two paragraphs they cite, Mr. Minkler offers no legal opinions; he
24    merely lists “requirements that must be met before a wiretap may be issued.” (Report ¶¶ 37–38.)
      Regardless, testimony on those requirements is admissible, as it “provide[s] valuable background
25    for the jury that is likely unaccustomed” to the “complex regulatory background” of lawful
      surveillance. United Energy Trading, LLC v. Pac. Gas & Elec. Co., 2018 WL 5013580, at *4
26
      (N.D. Cal. Oct. 16, 2018) (Seeborg, J.) (admitting expert testimony on “regulatory structure” of
27    natural gas industry); see, e.g., Stambolian v. Novartis Pharm. Corp., 2013 WL 6345566, at *8
      (C.D. Cal. Dec. 6, 2013) (admitting similar expert testimony on FDA “approval and regulation
28    process”).
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 1    him “specialized knowledge beyond the jury’s common knowledge of” lawful surveillance

 2    frameworks in other countries. Holguin, 51 F.4th at 854. Mr. Minkler is therefore qualified to

 3    offer all of his opinions.

 4              B.     Mr. Minkler’s opinions are all relevant.

 5              Mr. Minkler’s opinions are relevant to the availability of punitive damages and injunctive

 6    relief.

 7                     1.      Mr. Minkler’s opinions are relevant to punitive damages.

 8              Mr. Minkler’s opinions concerning how tools such as Pegasus fill a rapidly expanding gap

 9 in law-enforcement needs are essential to the jury’s determination of the factual questions

10 underlying the jury’s determination of whether punitive damages are warranted. Without that

11    testimony, the jury cannot properly determine whether NSO’s conduct in licensing Pegasus was

12    so reprehensible that it warrants imposition of punitive damages. Contrary to Plaintiffs’ apparent

13    assumption, the jury should not put on blinders and assess punitive damages based solely on

14    evidence of Pegasus’ alleged harms, without any evidence of its benefits.

15              To be entitled to punitive damages, Plaintiffs will need to “prove[ ] by clear and convincing

16    evidence that [NSO] has been guilty of oppression, fraud, or malice.” Cal. Penal Code § 502(e)(4).

17 “Malice” requires either an intent “to cause injury” or “despicable conduct . . . with a willful and

18 conscious disregard of that person’s rights.” Cal. Civ. Code § 3294(c)(1); see also CACI 3945
19 (Punitive Damages—Entity Defendant—Trial Not Bifurcated). “Oppression” similarly requires

20 “despicable conduct that subjects a person to cruel and unjust hardship in conscious disregard of

21 that person’s rights.” Id. § 3294(c)(2). “Fraud” requires an intent to “depriv[e] a person of property

22 or legal rights or otherwise caus[e] injury.” Id. § 3294(c)(3). The amount of punitive damages

23 available also would depend on how “egregious” NSO’s behavior was. See Riley v. Volkswagen

24 Grp. of Am., Inc., 51 F.4th 896, 902 (9th Cir. 2022). In other words, the jury will need to make a

25 number of factual determinations regarding whether NSO intended to harm others, disregarded

26 their safety, or engaged in objectively reprehensible conduct.

27              Mr. Minkler’s opinions on how NSO’s technologies—including the three versions of

28 Pegasus addressed in the Court’s order on summary judgment—protect safety by filling an existing
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 1    gap in law-enforcement needs are highly relevant to these determinations. These opinions provide

 2 context that will help the jury understand how “law enforcement could lawfully deploy Pegasus”

 3    (Report ¶¶ 35–40), and how that would make a real-world difference in cases where E2E encrypted

 4    “communications [are] used in furtherance of criminal activity” (id. ¶¶ 60-61). Mr. Minkler’s

 5    testimony provides important context that well help the jury decide whether NSO’s intent was to

 6    harm Plaintiffs or to fill existing gaps in law-enforcement needs by developing a technology that

 7    has already “been beneficially deployed in several high-profile investigations.” (Id. ¶ 62.) See

 8    Hardeman v. Monsanto Co., 997 F.3d 941, 971 (9th Cir. 2021) (the requisite intent “can be ‘proved

 9    either expressly through direct evidence or by implication through indirect evidence’”) (quoting

10    Pfeifer v. John Crane, Inc., 220 Cal. App. 4th 1270, 1299 (2013)).

11            Mr. Minkler’s opinions likewise will help the jury determine whether NSO’s conduct was

12    “despicable.” This objective standard requires “conduct ‘so vile, base, contemptible, miserable,

13    wretched or loathsome that it would be looked down upon and despised by most ordinary decent

14    people.’” Hardeman, 997 F.3d at 971 (quoting Pac. Gas & Elec. Co. v. Super. Ct., 24 Cal. App.

15    5th 1150, 1158 (2018)); see also CACI 3945 (Punitive Damages—Entity Defendant—Trial Not

16    Bifurcated) (similar). The jury cannot properly make this determination by considering only one

17    side of the equation—i.e., the supposed harms of the technologies that NSO created and sold.

18    Rather, the jury also must consider whether the challenged technology has beneficial properties

19    such that most ordinary decent people would not find NSO’s conduct despicable. Mr. Minkler’s

20    opinions will directly help the jury understand those benefits. Indeed, Plaintiffs themselves intend

21    to argue on this issue that NSO peddles “spyware” and “Malware Vectors” that “posed a

22 substantial risk of harm to thousands of WhatsApp users.” (See Pls.’ Trial Br. (Dkt. 595) at 2, 10–

23 12.) Mr. Minkler’s opinions that NSO offers essential lawful-intercept technologies that allow law

24 enforcement to thwart and/or apprehend suspected criminals and terrorists are necessary to rebut

25 Plaintiffs’ arguments.

26           Courts commonly consider similar expert testimony about whether a challenged product

27 or technology is, in fact, harmful or beneficial when assessing punitive damages. See, e.g., Riley,

28 51 F.4th at 901 n.4 (noting “‘expert testimony that increased NOx emissions increase the risk of
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 1    harm to human health’” was “‘evidence of the egregiousness of Volkswagen’s misconduct’”);

 2    Hadley v. Kellogg Sales Co., 2019 WL 3804661, at *16 (N.D. Cal. Aug. 13, 2019) (Koh, J.)

 3    (considering expert testimony on whether “cereal consumption increases the risk of coronary heart

 4    disease, diabetes, or obesity” on punitive-damages claim against cereal manufacturer); Buell-

 5 Wilson v. Ford Motor Co., 73 Cal. Rptr. 3d 277, 312 (Cal. Ct. App. 2008) (jury properly weighed

 6 competing “expert testimony” on whether product had “design and safety issues” on punitive-

 7 damages claim). These cases all confirm that Mr. Minkler’s opinions are relevant.

 8           Plaintiffs cite no contrary authority. And their objections to Mr. Minkler’s opinions (Mot.

 9    7-8) misstate the nature of those opinions and how they will help the jury.

10           First, Mr. Minkler’s opinions do not simply “relate to conduct by federal law

11 enforcement.” Contra Mot. 7. They relate to NSO and whether the tools it developed can and do

12 benefit law enforcement. Mr. Minkler’s opinions—including on Pegasus’ lawful use (see Report

13    ¶¶ 35–40), its benefits (id. ¶¶ 55–62), and NSO’s safeguards against unlawful use (id. ¶¶ 28, 33–

14    34)—are relevant to whether the harms of Pegasus outweigh the benefits, and whether NSO’s

15    conduct in designing and licensing Pegasus is so “despicable” or “reprehensible” that punitive

16    damages can be assessed against it. This testimony is clearly applicable to Pegasus generally and

17    to the three versions of Pegasus addressed in the Court’s order on partial summary judgment.

18    While Plaintiffs complain Mr. Minkler did not consider this Court’s order on summary judgment,

19    that order had not issued by the time he prepared his expert report in December 2024 (compare

20    Report p. 27 with Dkt. 494)—and, regardless, Plaintiffs fail to explain what aspects of that order

21    Mr. Minkler should have later considered.

22           Second, Mr. Minkler’s opinions are not “about speculative, hypothetical uses of Pegasus.”

23    Contra Mot. 8. As he made clear in response to questioning, his opinions discuss benefits to law

24    enforcement that he believes are already accruing. (See Akro Decl. Exh. A., Depo. at 236:12–16.)

25    Mr. Minkler provides specific examples of how Pegasus “has been beneficially deployed in several

26    high-profile investigations” (Report ¶ 62), notes the undisputed evidence that the FBI obtained a

27    license to Pegasus covering the time period relevant here (2018-2020), and indicates that other

28
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 1    U.S. government agencies procured Pegasus licenses on behalf of U.S. partners (id. ¶¶ 33, 54, 62). 4

 2    All of this corroborates his opinion—based on decades of experience—that Pegasus does, in fact,

 3    fill a widening gap in law-enforcement surveillance needs. Again, that is relevant to whether

 4    NSO’s conduct in creating and licensing the three specific versions of Pegasus found to violate

 5    U.S. law was sufficiently reprehensible to warrant the imposition of punitive damages.

 6                   2.      Mr. Minkler’s opinions are relevant to injunctive relief.

 7           For similar reasons, Mr. Minkler’s opinions are relevant to the availability of injunctive

 8    relief. To obtain such relief, Plaintiffs will need to show, among other things, “that the public

 9    interest would not be disserved by a permanent injunction.” W. Watersheds Project v. Abbey, 719

10    F.3d 1035, 1054 (9th Cir. 2013). Mr. Minkler’s opinions speak directly to this issue, as they show

11    how an injunction could deprive law enforcement of a valuable tool for investigating,

12    apprehending, and prosecuting terrorists and other serious criminals.

13           Contrary to Plaintiffs’ assumption (at 9), this testimony neither is “hypothetical” nor “lacks

14    foundation.” It is grounded in real-world facts that “Pegasus has been used by several Western-

15    style democracies including Germany, Spain, Belgium, Poland, and Hungary,” and that the United

16    States has “financed the purchase of Pegasus, to assist American allies in combating crime and

17    terrorism,” as well as Mr. Minkler’s real-world experience that “the lawful interception by . . . a

18    US ally . . . can and has facilitated the protection of the United States.” (Report ¶¶ 53–54

19    (emphasis added; citing public reporting).) Mr. Minkler also supported his opinion with similar

20    views publicly expressed by “[n]umerous United States Attorneys General” and then-President

21    Obama. (Id. ¶ 56 (quoting statements at length).) Finally, Mr. Minkler explained why President

22    Biden’s March 2023 Executive Order does not, in his opinion, prohibit any federal agency from

23    deploying Pegasus – including that NSO has engaged in the remedial measures and established

24    requisite safeguards. (Akro Decl. Exh. A., Depo. at 99:19–104:20.) Plaintiffs may dispute (at 8–

25
   4
     Whether the FBI or any other U.S. law enforcement agency has ever deployed Pegasus directly
26 is thus irrelevant. Furthermore, the mere fact that the FBI obtained a license to Pegasus,

27                                                                              supports Mr. Minkler’s
   opinion that U.S. law-enforcement agencies see a need for, and recognize the potential benefits of,
28 tools such as Pegasus.
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 1    9 n.6) whether banning the deployment of Pegasus within the United States would harm the public

 2    interest; but the parties’ dispute on this point only confirms that Mr. Minkler’s testimony is

 3    relevant and would help the fact-finder.

 4           Although “entitlement to injunctive relief is a question for the Court, not the jury,” Mot. 9,

 5    that does not make Mr. Minkler’s testimony irrelevant. It remains relevant to punitive damages.

 6    Even Plaintiffs’ own authority admitted evidence “related to [a] request for permanent injunction”

 7    where, as here, that evidence also “related to damages.” Illuminia, Inc. v. BGI Genomics Co., Ltd.,

 8    2021 WL 4979799, at *9 (N.D. Cal. Oct. 27, 2021); cf. Cave Consulting Grp., LLC v.

 9    Optuminsight, Inc., No. 5:11-cv-469-EJD, Dkt. 294 at 3 (N.D. Cal. Feb. 23, 2015) (excluding

10    evidence only where it was “solely directed to the issue of whether a permanent injunction should

11    issue”). Furthermore, this Court has suggested that it might resolve any equitable issues by relying,

12    in part, on special interrogatories to the jury. (See Dkt. No. 577 at 2:5–7.) In that case, the

13    distinction between legal and equitable issues would not provide any basis to keep Mr. Minkler’s

14    testimony from the jury.

15           C.      Mr. Minkler’s opinions are reliable.

16           Plaintiffs take a scattershot approach on reliability, lodging (at 12–18) seven distinct

17 challenges to parts of Mr. Minkler’s testimony. This “[C]ourt has ‘broad latitude to determine’

18 what factors . . . are relevant to the reliability determination.” United States v. Valencia-Lopez,
19    971 F.3d at 891, 898 (9th Cir. 2020). Although an expert does not “satisfy its reliability burden

20    with a chant of ‘training and experience,’” United States v. Cerna, 2010 WL 11627594, at *6 (N.D.

21    Cal. Dec. 17, 2010), Plaintiffs ignore that “‘experience alone—or experience in conjunction with

22    other knowledge, skill, [or] training’” can itself be “‘a sufficient foundation for expert testimony,’”

23    Holguin, 51 F.4th at 858 (emphases removed) (quoting Fed. R. Evid. 702 advisory committee’s

24    note to 2000 amendment). “[T]he judge is supposed to screen the jury from unreliable nonsense

25    opinions, but not exclude opinions merely because they are impeachable.” Alaska Rent-A-Car,

26    Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013).

27           Plaintiffs do not point to any “unreliable nonsense opinions,” see id., because there are

28    none. Rather, Plaintiffs improperly seek to exclude opinions merely because Plaintiffs claim they
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 1    are impeachable. See id.

 2                  1.      Domestic use of Pegasus

 3           Plaintiffs’ challenge (at 12–13) to Mr. Minkler’s supposed opinion about “the hypothetical

 4    use of Pegasus by U.S. law enforcement” overlooks that Mr. Minkler does not speculate whether

 5    in fact the United States will ever deploy Pegasus. Instead, he opines that doing so would help

 6    solve a critical gap in law-enforcement needs (see Report ¶¶ 55–62) and could be pursued under

 7 Title III and FISA (id. ¶¶ 35–40). These opinions are not speculative; they are grounded in decades

 8 of experience and corroborated by the highest levels of law enforcement. (See id. ¶¶ 35–40; ¶ 56
 9 (Attorneys General and then-President Obama agreed on the need to intercept end-to-end

10 encrypted communications); Akro Decl. Exh. A., Depo. at 168:1–18 (“committee meetings”

11 discussed need “for the surveillance of end-to-end encryption” and how “everyone discussing that

12 . . . favored some technology” like Pegasus); id. at 173:9–174:6 (Mr. Minkler’s experience includes

13 “aware[ness] of the volume and use of Title 3, electronic surveillance prior to 2020”)). Moreover,

14 Mr. Minkler’s opinion that NSO designed a tool compatible with Title III and FISA renders its

15 conduct less (if at all) reprehensible—regardless of whether that tool has yet been deployed under

16 Title III or FISA.

17           In any event, Plaintiffs are wrong (at 12) that “there are no facts or data indicating that U.S.

18 law enforcement actually uses, or even intends to use Pegasus.” As Mr. Minkler reliably explained
19 based on documents produced in this litigation and public reporting, not only did the FBI take a

20 license to Pegasus (Report ¶ 33), the United States “financed the purchase of Pegasus” to assist

21 allies (id. ¶ 54). These facts further confirm the reliability of Mr. Minkler’s opinions that Pegasus

22 could be deployed within the parameters of Title III or FISA and that U.S. law enforcement

23 agencies could benefit from Pegasus and similar technologies. Because Mr. Minkler “fully

24 articulate[s] the basis” for these opinions, including his own personal knowledge, his opinions are

25 reliable. United States v. Hankey, 203 F.3d 1160, 1169–70 (9th Cir. 2000).

26                  2.      Foreign use of Pegasus

27           Plaintiffs next contend (at 13) that “Mr. Minkler’s opinions on the lawfulness of electronic

28 surveillance by foreign law enforcement are unreliable and do not reflect any specialized
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 1    expertise.” Plaintiffs’ primary argument merely recycles their flawed view that Mr. Minkler “has

 2    no expertise in this area.” As explained above, that is incorrect, as Mr. Minkler has substantial

 3    knowledge in this area—given his first-hand experience conducting investigations with foreign

 4    law enforcement (see Report ¶¶ 10, 53) plus his training as a lawyer, and his independent legal

 5    research that included a Vodafone database of foreign laws authorizing the interception of

 6    communications (id. ¶ 52); a Library of Congress treatise on “Wiretapping and Electronic

 7    Surveillance Laws in Major Foreign Countries” (id. App’x B); and additional “public reporting”

 8    on how “Pegasus itself has been beneficially deployed in several high-profile investigations”

 9    worldwide (id. ¶ 62) and “has been used by several Western-style democracies” (id. ¶ 54; see Akro

10    Decl. Exh. A., Depo. at 261:24–262:8.

11           Plaintiffs offer no valid basis for questioning Mr. Minkler’s own experience or any of the

12    databases, treatises, or public reports he consulted. While Plaintiffs focus exclusively on the

13    Library of Congress treatise from 1975, they ignore that Mr. Minkler also reliably grounded his

14    opinion in a Vodafone database of dozens of countries that was “last updated between 2017 and

15    2022” (Report ¶ 52) and other, more recent public reports that Plaintiffs do not dispute are reliable.

16    Contrary to Plaintiffs’ assumption (at 13), Mr. Minkler does not impermissibly “regurgitate

17    information given to him by other sources.” Dep’t of Toxic Substances Control v. Technichem,

18    Inc., 2016 WL 1029463, at *1 (N.D. Cal. Mar. 15, 2016)). He instead permissibly uses his

19    specialized knowledge to summarize the relevant facts from a variety of reliable sources and

20    synthesize those sources with his first-hand experience of foreign surveillance of communications

21    to opine that “other nations have legal frameworks that permit law enforcement to intercept

22    communications lawfully.” (Report ¶ 50.) See also, e.g., Scott v. Chipotle Mexican Grill, Inc.,

23    315 F.R.D. 33, 45 (S.D.N.Y. 2016) (expert testimony is “admissible where it’ synthesizes’ or

24    ‘summarizes’ data” based on the expert’s “‘specialized knowledge’”) (citation omitted).

25                   3.      Trivial Disclosures

26           In preparing the “Qualifications” section of his report where he describes his professional

27    experience, Mr. Minkler reviewed undisclosed press releases “to provide the specific dates and

28    spellings of names.” (Akro Decl. Exh. A., Depo. at 185:8–14.) In a handful of instances in that
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 1    same section, he also used quotation marks around certain language without including a

 2    corresponding citation. When deposed, he explained that the quotation marks indicated his best

 3    recollection of statements made at sentencing hearings or at trial—whether from his own memory

 4    or from what AUSAs or agents familiar with the trial had told him “about what [a] witness had

 5    said.” (See, e.g., id. at 180:8–15, 199:21–200:5, 284:14–285:7.) On this basis, Plaintiffs argue (at

 6    13–15) that “Mr. Minkler should be precluded from testifying about opinions premised on

 7    undisclosed sources.” That is baseless.

 8            None of this “violates Rule 26” or “renders [Mr. Minkler’s] opinions unreliable.” Contra

 9    Mot. 14–15. Rule 26 requires disclosure of only the “facts or data considered by the [expert] in

10    forming [any opinions].” Fed. R. Civ. P. 26(a)(2)(B)(ii) (emphasis added). None of the details

11    that Mr. Minkler confirmed using press releases—specific dates, spellings of names—forms the

12    basis of his substantive opinions. Indeed, Plaintiffs fail to identify any opinions based on

13    undisclosed sources and cite only paragraphs in Mr. Minkler’s “Qualifications” section

14    highlighting details from his past case experience. (See Mot. 14 (citing Report ¶¶ 12-13, 19).) 5

15    Because none of his actual opinions is tainted by any undisclosed source, neither of Plaintiffs’

16    authorities is apposite. See Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 87 F. Supp.

17    3d 928, 949 (N.D. Cal. 2015) (expert’s opinions were based on undisclosed “conversations with

18    witnesses” from the same case in which he was proffering an opinion); S.E.C. v. Reyes, 2007 WL

19    963422, at *1 n.1 (N.D. Cal. Mar. 30, 2007) (requiring “disclosure of all materials considered by

20    . . . a testifying expert in forming his or her opinions”).

21            Plaintiffs’ view that quotations marks should only be used to relay “a verbatim quote” (id.

22    at 210:11–22) is not supported by any case law and provides no basis for excluding Mr. Minkler’s

23    actual opinions—especially given the jury will consider only experts’ testimony, not their reports.

24            Furthermore, Rule 26 is not violated unless undisclosed information is “material.” Fed. R.

25

26    5
      All of the deposition testimony cited by Plaintiffs likewise concerns paragraphs in the
27 “Qualifications”   section of Mr. Minkler’s Report, where Mr. Minkler relied on undisclosed press
   releases for trivial details or AUSAs or agents for the substance of witness testimony. (See Mot.
28 at 14 n.8 (citing deposition testimony on Paragraphs 12, 14, and 16–19).)
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 1    Civ. P. 26(e)(1)(A); see Fed. R. Civ. P. 37(c)(1) (parties can rely on undisclosed information if

 2    non-disclosure “is harmless”). Here, the precise dates, spelling of names, or even exact wording

 3    of years-old witness testimony are immaterial to Mr. Minkler’s substantive opinions and whether

 4    he has reliably reached those opinions based on his experience. And regardless, Plaintiffs never

 5    sought to compel any supplemental disclosures, which prohibits them from seeking to exclude Mr.

 6    Minkler’s opinions on this basis. See Krause v. Hawaiian Airlines, Inc., 2019 WL 13225251, at

 7    *4 (E.D. Cal. June 7, 2019); accord, e.g., Intercargo Ins. Co. v. Burlington N. Santa Fe R.R., 185

 8    F. Supp. 2d 1103, 1107 (C.D. Cal. 2001) (exclusion “is appropriate only when the failure to provide

 9    an adequate expert report is in violation of an order compelling discovery”). At most, this is a

10    subject for cross-examination, not grounds for exclusion.

11                   4.     Law-enforcement trends

12           Plaintiffs’ attack (at 14–15) on the reliability of Mr. Minkler’s “testi[mony] about the

13    particular challenges faced by law enforcement in investigations in which he was not involved”

14    also misses the mark. In fact, Mr. Minkler bases his opinions primarily on decades of his own

15    experience leading and supervising criminal investigations and prosecutions—including “20

16    cases” where law enforcement “was unable to access . . . communications because they were

17    encrypted” (Akro Decl. Exh. A., Depo. 182:12–183:1); “quite a few” child exploitation cases (id.

18    at 18:12–18) and countless other cases where he learned of criminal communications methods by

19    “interview[ing] criminals as part of proffers,” supervising “terrorist investigations,” or held

20    meetings with FBI that “discuss[ed] investigative techniques and proffers of terrorist and national

21    security investigations” (id. at 264:5–265:10); and numerous committee meetings discussing still

22    other cases where law enforcement “could not gain access to [a criminal’s] device because of the

23 encryption” (id. at 168:1–18).

24           Mr. Minkler could have stopped there and still offered his same opinions, but he went the

25 extra step of corroborating his opinions with additional case information gleaned from

26 authoritative and reliable DOJ sources. (See, e.g., Report ¶¶ 45–48 (citing policy statements,

27 public remarks by the Attorney General and FBI director, and formal indictment).) Plaintiffs do

28 not (and cannot) challenge the reliability of these additional authoritative sources. So their critique
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 1    effectively boils down to the assertion that it is inherently unreliable for Mr. Minkler to rely on

 2    facts for which he has no personal knowledge. That is not the law: Unlike fact witnesses, expert

 3    witnesses need not “ha[ve] personal knowledge of the matter[s]” to which they testify, Fed. R.

 4    Evid. 602, and may base their opinions on otherwise inadmissible facts that “the expert has been

 5    made aware of” so long as “experts in the particular field would reasonably rely on those kinds of

 6    facts or forming an opinion on the subject,” Fed. R. Evid. 703—which indisputably is the case

 7    here. In addition to his specialized experience, and other sources that Plaintiffs do not challenge,

 8    Mr. Minkler buttressed his opinions by referring to a few recent, high-profile cases in which law

 9    enforcement was stymied by its inability to access encrypted communications—including

10    investigations or prosecutions relating to terrorism, the January 6, 2021, insurrection at the U.S.

11    Capitol, and the attempted assassination of President Trump. (See Report ¶¶ 45–48.)

12           There is no risk here that Mr. Minkler might become a “conduit” for otherwise inadmissible

13    evidence in the case. Contra Mot. 15–16. The small handful of cases for which he relies on public

14    sources is dwarfed by the dozens (if not hundreds) of other cases from his own experience that

15    also underpin his opinions. And Mr. Minkler “display[s] genuine . . . ‘specialized knowledge’” in

16    synthesizing those sources with his experience to form a broader opinion that will “help the trier

17    of fact understand” not only the increase in use of end-to-end encryption services by criminals, but

18    also how that can and does impede law enforcement. Williams v. Illinois, 567 U.S. 50, 80 (2012);

19    cf. Caldwell v. City of San Francisco, 2021 WL 1391464, at *5 (N.D. Cal. Apr. 13, 2021)

20    (excluding expert testimony where there “[wa]s no indication of how [the expert] applied his

21    purported expertise to synthesize or analyze the facts upon which he relied”).

22                   5.      Customer contracts

23           Plaintiffs overreach in challenging (at 16) the reliability of “any opinion by Mr. Minkler

24    related to NSO’s customers or contracts with its customers.” Mr. Minkler does not purport to

25    opine on NSO’s customer contracts; he says merely that he “verified” that, consistent with NSO’s

26    public reporting, “NSO’s contracts contain clauses related to human rights and lawful intelligence

27    gathering.” (Report ¶ 34.) Defendants produced in discovery two nearly-identical NSO contracts

28    from the relevant period, one of which Mr. Minkler consulted in forming his opinion. (See Akro
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 1    Decl. Exh. A., Depo. at 119:6–20.) Plaintiffs concede (as they must) that Mr. Minkler “may

 2    assume facts” that “have some support in the record.” (Mot. 16.) Because the record includes

 3    (1) public reporting by NSO, (2) examples of customer contracts consistent with NSO’s reporting,

 4 and (3) no evidence indicating any other customer contract lacks similar language, Mr. Minkler

 5 could properly assume—let alone conclude—that “NSO’s contracts contain clauses related to

 6 human rights and lawful intelligence gathering.” (Report ¶ 34.)

 7           Even if Mr. Minkler’s statement were an opinion, Plaintiffs’ challenge would go only to

 8 weight, not admissibility. Mr. Minkler’s opinion being based on NSO’s public reporting and one
 9 of the two exemplar contracts in the record would not be “in and of itself, . . . enough to render

10 [that] opinion unreliable.” VIA Techs., Inc. v. ASUS Comp. Int’l, 2017 WL 3051048, at *7 (N.D.

11 Cal. July 19, 2017) (deeming a sample size of one “an issue for cross examination,” not a basis for

12 exclusion, where sample size was itself “bounded by” other considerations). Plaintiffs’ two cited

13 cases are inapposite, as they both involved data sets several magnitudes larger than the set of

14 NSO’s customers and had no apparent restrictions on the sample size. See Am. Honda Motor Co.

15 v. Allen, 600 F.3d 813, 818–19 (7th Cir. 2010) (expert unreliably used methodology not “accepted

16 by anyone” else and “tested a single, used 2006 GL1800, ridden by a single test rider, and

17 extrapolated his conclusions to the fleet of [tens of thousands of] GL1800s produced from 2001 to

18 2008”); In re Wells Fargo & Co. S’holder Derivative Litig., 445 F. Supp. 3d 508, 530 (N.D. Cal.
19 2020) (prevailing market rate for contract attorneys’ fees could not be based on “four instances of

20 billing over 17 years” from just one firm).

21           Nor does Mr. Minkler improperly “inject expert testimony on” NSO’s customer list.

22 Contra Mot. 17. Mr. Minkler’s testimony about NSO’s customers is properly grounded in

23 information produced during discovery and public reporting, the reliability of which Plaintiffs do

24    not question. (See, e.g., Report ¶¶ 33, 62.) As Plaintiffs’ lead authority explains, a court “abuses

25    its discretion if it overlooks relevant data submitted as the foundation of an expert’s remarks.”

26    Elosu v. Middlefork Ranch Inc., 26 F.4th 1017, 1025 (9th Cir. 2022) (Rule 702 “requires

27    foundation, not corroboration”). Given that Plaintiffs’ own experts rely on public reporting for

28
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 1    negative information about Pegasus, 6 it certainly must be fair play for Mr. Minkler to rely on public

 2 reporting for positive information about Pegasus—all of which is available to Plaintiffs. Plaintiffs’

 3 remaining cases are not persuasive because, unlike here, there was no way to test the expert’s

 4 foundation. See In re Leap Wireless Int’l, Inc., 301 B.R. 80, 85 (Bankr. S.D. Cal. 2003) (expert

 5 “relie[d] on confidential information” that could not be “disclose[d]” or “tested by cross-

 6 examination”); ThermoLife Int’l, LLC v. Gaspari Nutrition Inc., 648 F. App’x 609, 614 (9th Cir.

 7 2016) (expert’s assumption of “market share” was based on “report” of excluded expert).

 8                   6.      Mental state

 9            Plaintiffs similarly overreach in challenging (at 17–18) Mr. Minkler’s supposed “opinion

10 on NSO’s state of mind.” Unlike Plaintiffs’ claimed experts Dr. Anthony Vance and Mr. David

11    Youssef—who purport directly to opine on NSO’s past and future “intentions”—Mr. Minkler

12 never opines on NSO’s state of mind, and Plaintiffs point to nothing in his report suggesting

13 otherwise. Because Mr. Minkler nowhere opines on what NSO “should have expected,” Gold v.

14 Lumber Liquidators, Inc., 323 F.R.D 280, 294 (N.D. Cal. 2017), or “what [NSO] knew,’” Lin v.

15 Solta Med., Inc., 2024 WL 51999905, at *12 (N.D. Cal. Dec. 23, 2024) (Hamilton, J.), Plaintiffs’

16 cases are all distinguishable. Cf. Stanley v. Novartis Pharms. Corp., 2014 WL 12573393, at *8

17 (C.D. Cal. May 6, 2014) (“declin[ing]” to exclude expert testimony where court could not

18 “determine at this time that the testimony” was state-of-mind testimony).
19            To the extent Plaintiffs challenge Mr. Minkler’s statements about Pegasus’ design,

20 exclusion is not warranted. Rule 702 permits Mr. Minkler to draw conclusions about Pegasus’

21 design based on his specialized expertise in surveillance techniques and reliable information, so

22 long as he “allow[s] the jurors to determine for themselves the legal significance of [that design]

23 as interpreted.” United States v. Plunk, 153 F.2d 1011, 1018 (9th Cir. 1998); see also, e.g., United

24 States v. Simmons, 923 F.2d 934, 947 (2d Cir. 1991) (affirming admission of expert “testimony,

25 which related only to the meaning of unfamiliar narcotics jargon” and “left to the jury the task of

26

27    6
       Plaintiffs’ proffered expert Dr. Anthony Vance relies heavily on press reports when summarizing
28    alleged “misuses” of Pegasus. (See Dkt. No. 509-5 at pp. 7-14.)
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 1    determining whether the decoded terms demonstrated the necessary criminal intent”). That is

 2    precisely what Mr. Minkler does: Using NSO materials and his own specialized knowledge to

 3    categorize Pegasus’ technical capabilities, Mr. Minkler concludes that Pegasus “appears designed

 4    to capture” both “traditional forms of communications” and “new data streams” and thus “would

 5    allow law enforcement legal access to E2E communications used in furtherance of criminal

 6    activity”—while leaving jurors to decide the factual question of whether NSO had the requisite

 7    intent to harm Plaintiffs. (Report ¶ 60; see also Akro Decl. Exh. A., Depo. at 157:5–17 (Pegasus

 8    “provid[e]s a tool for law enforcement to, properly, in compliance with the laws of that country,

 9    intercept end-to-end encrypted communications”).) If anything, Plaintiffs’ arguments are better

10    directed at their own experts, who actually purport to opine on NSO’s intent and do so without

11    relying on any specialized expertise or technical information (Dr. Vance) or without any reliable

12    basis for predicting NSO’s future business direction (Mr. Youssef).

13                   7.      Benefits of Pegasus

14           Finally, Plaintiffs’ attempt (Mot. 18) to preclude Mr. Minkler from “weighing the benefits

15    . . . versus the risks” of using Pegasus fails. As a threshold matter, Mr. Minkler (unlike Plaintiffs’

16    claimed expert, Dr. Vance) does not purport to weigh any benefits or risks. He will merely be

17    providing the jury with information about certain of those benefits. Plaintiffs’ argument is further

18    premised on their incorrect assumption that Mr. Minkler cannot “opine on U.S. law enforcement’s”

19    use of Pegasus—and therefore fails for the same reasons. (See supra Sections IV.B.1, IV.C.1,

20 IV.C.5.) Moreover, unlike in Plaintiffs’ cited authority and unlike their unqualified academic

21 expert (Dr. Vance), Mr. Minkler’s assessments of the social utility of Pegasus is not based on his

22 own say-so, but is instead grounded in decades of real-world investigations, discussions with law

23 enforcement, and independent research. (Supra Sections IV.A, IV.B.1.) Plaintiffs’ citation to

24    Laux v. Mentor Worldwide, LLC, 295 F. Supp. 3d 1094, 1102–03 (C.D. Cal. 2017), is totally

25    inapposite, because the expert in Laux was excluded for opining that “Plaintiff suffers from ‘breast

26    implant toxicity’” without even identifying “the toxic substance at issue, let alone [explaining]

27    how that substance can cause injury”) (citation omitted). Mr. Minkler is not proffering any

28    “because I said so” opinions of the type excluded in Laux.
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 1           D.      None of Mr. Minkler’s opinions should be excluded under Rule 403.

 2           Plaintiffs seek (Mot. 19) to exclude all of Mr. Minkler’s opinions under Rule 403 because,

 3    in Plaintiffs’ view, those opinions merely recast an “irrelevant policy argument . . . in the guise of

 4    expert testimony.” That is wrong for at least two reasons. Plaintiffs’ argument turns entirely on

 5    the erroneous assumption that Mr. Minkler’s opinions are not relevant—when, in fact, they are all

 6    relevant to punitive damages and injunctive relief. (Supra Section IV.B.) And Plaintiffs ignore

 7    the unique, policy-infused nature of punitive damages (and, for that matter, equitable remedies

 8    such as injunctive relief). Unlike other jury determinations, punitive damages are “an expression

 9    of [the jury’s] moral condemnation” that intrinsically requires the jury to weigh policy by

10    determining how much “deterrence,” “punishment,” or “‘expressi[on]’” is needed in a particular

11    case. Cooper Indus., Inc. v. Leatherman Tool Grp., Inc., 532 U.S. 424, 432 & n. 5, 438–39 (2001)

12    (citations omitted). Tellingly, none of Plaintiffs cited cases (at 19–20) involved punitive damages.

13           Plaintiffs also cursorily state (Mot. 16 n.9) that “[t]estimony on child sexual exploitation,

14    national security, or other sensitive issues should be precluded under Rule 403” based on

15    “irrelevance . . . and the substantial risk of unfair prejudice and juror confusion.” But Plaintiffs

16    ignore Mr. Minkler’s explanation why that evidence is relevant: Those types of crimes are precisely

17    the areas where use of end-to-end encryption is increasing. (See Report ¶ 58 (“Individuals

18 engaging in organized crime, child exploitation, terrorism, and human trafficking continue to
19 develop technologies to avoid detection by law enforcement”—including “E2E encryption”); Akro

20    Decl. Exh. A., Depo. at 186:11–21 (“in drug cases, in child sexual crimes to include child

21    exploitation crimes, and in terrorism cases, increasingly those individuals used counter-

22    surveillance measures that include end-to-end encryption”); id. at 18:12–25 (explaining that

23    “[c]hild exploitation crimes” were “the major cyber crimes investigations” he supervised, as they

24    often “required somewhat sophisticated techniques to gather evidence from computers and the

25    internet”).) Plaintiffs also ignore that Mr. Minkler never references Plaintiffs in connection with

26    sexual exploitation or terrorism.

27           Mr. Minkler’s opinions are actually relevant to the issues facing the jury and the Court. In

28    this respect, Mr. Minkler’s testimony differs from those found in Plaintiffs’ authorities (at 16 n.9).
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 1    See Giganews, Inc. v. Perfect10, Inc., 2019 WL 1422723, at *5 (C.D. Cal. Mar. 13, 2019)

 2    (excluding evidence that “child pornography was uploaded to [plaintiff’s] servers” that was

 3    “irrelevant” to fraudulent-transfer claim); Waymo LLC v. Uber Techs., Inc., 2018 WL 646701, at

 4    *22 (N.D. Cal. Jan. 30, 2018) (excluding “salacious and inflammatory details about [opposing

 5    party] that have no discernible relevance to the claims in this case”); Planned Parenthood Fed’n

 6    of Am., Inc. v. Ctr. for Med. Progress, 480 F. Supp. 3d 1000, 1010–11 (N.D. Cal. 2020) (excluding

 7    “not relevant” evidence relating to “illegality by plaintiffs in their fetal tissue programs” that was

 8    subject to “raging debates”); cf. Doe v. Bridges to Recovery, LLC, 2021 WL 4690830, at *8 (C.D.

 9    Cal. May 19, 2021) (expert could not “characterize the conduct as ‘sexual exploitation’” because

10    “[i]t is the jury’s task to decide whether [the party’s] conduct rose to that level,” but could “explain

11    the facts that support [that] opinion”). They are admissible, accordingly.

12    V.      CONCLUSION

13            Because Mr. Minkler’s opinions are relevant, helpful, and reliable, the Court should deny

14    Plaintiffs’ attempt to exclude them.

15

16    DATED: March 20, 2025                               KING & SPALDING LLP
17                                                        By: /s/ Joseph N. Akrotirianakis
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